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                  United States Court of Appeals
                          FOR THE DISTRICT OF COLUMBIA CIRCUIT



No. 20-1379                                               September Term, 2022
                                                          FILED ON: MAY 16, 2023

CENTER FOR BIOLOGICAL DIVERSITY AND SIERRA CLUB,
                   PETITIONERS

v.

FEDERAL ENERGY REGULATORY COMMISSION,
                  RESPONDENT

ALASKA GASLINE DEVELOPMENT CORPORATION,
                  INTERVENOR


                                On Petition for Review of Orders
                         of the Federal Energy Regulatory Commission


       Before: RAO and WALKER, Circuit Judges, and RANDOLPH,* Senior Circuit Judge

                                       JUDGMENT

       This cause came on to be heard on the petition for review of orders of the Federal
Energy Regulatory Commission and was argued by counsel. On consideration thereof, it is

       ORDERED and ADJUDGED that the petition for review be dismissed in part and
denied in part, in accordance with the opinion of the court filed herein this date.

                                          Per Curiam



                                                          FOR THE COURT:
                                                          Mark J. Langer, Clerk

                                                    BY:   /s/

                                                          Daniel J. Reidy
                                                          Deputy Clerk


Date: May 16, 2023

Opinion for the court filed by Circuit Judge Rao.

* Senior Circuit Judge Randolph was a member of the panel at the time the case was argued but
did not participate in the opinion.
